       Case 3:24-cv-00206-KM      Document 41      Filed 10/28/24   Page 1 of 1




                      UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

 ALEIDA AQUINO & BRENDALIS
 LOPEZ,
                                               CIVIL ACTION NO. 3:24-CV-00206
                     Plaintiff,

       v.                                              (MEHALCHICK, J.)

 HAZLETON AREA SCHOOL
 DISTRICT,

                     Defendant.


                                       ORDER

      AND NOW, this 28th day of October, 2024, for the reasons set forth in the

Memorandum Opinion concurrently filed herewith, IT IS HEREBY ORDERED that the

Hazleton Area School District’s motion to dismiss (Doc. 21) is DENIED.




                                               BY THE COURT:


                                               s/ Karoline Mehalchick
                                               KAROLINE MEHALCHICK
                                               United States District Judge
